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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN



MICHAEL POZAN,
an individual,
               Plaintiff,
                                                 Case No. 2:21-cv-11899
v.
                                                  Honorable Victoria A. Roberts

QUALITY METALCRAFT, INC.,
A Domestic Limited Liability
Company,

               Defendant.



  STIPULATED ORDER REGARDING OUTSTANDING DEPOSITIONS

      This matter having come before the Court pursuant to the stipulated agreement

of the parties; that the Court’s Rule 16 Schedule Order (ECF No. 8) set a June 10,

2022 discovery completion deadline; that counsel for Plaintiff properly noticed five

depositions on May 26, 2022, to occur prior to the discovery cutoff deadline; that

the parties have agreed to engage in good faith settlement negotiations and wish to

avoid the dedication of resources and costs associated with conducting such

depositions; that the parties are also scheduled to appear for a settlement conference

with the Court on June 23, 2022 and are prepared to do so if the case is not resolved

prior to this time; the parties seeking to conduct the aforementioned depositions at a
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later date(s) if the parties are unable to resolve this matter before or during the June

23, 2022 settlement conference; and good cause having been showed:

      IT IS HEREBY ORDERED that Plaintiff will be permitted to conduct the

five depositions originally noticed on May 26, 2022 after the June 10, 2022

discovery deadline if this matter is not resolved on or before June 23, 2022.

      IT IS FURTHER ORDERED that if this case is not resolved on or before

June 23, 2022, the Court will set remaining deadlines for this matter, including a

deadline by which the five depositions originally noticed on May 26, 2022 must

occur by.

                                 s/ Victoria A. Roberts
                                 UNITED STATES DISTRICT COURT JUDGE
Date: 6/12/2022




Approved as to form and substance:


 /s/ “with consent” Paul J. Dillon             /s/ David M. Cessante
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